
		
				IN RE: AMENDMENT TO OKLAHOMA SUPREME COURT RULE 1.301, FORM 5 PETITION IN ERROR2023 OK 94Decided: 09/25/2023IN THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 94, __ P.3d __

				

ORDER



Oklahoma Supreme Court Rule 1.301, Form 5 (Petition in Error), 12 O.S., ch. 15, app. 1, is hereby amended as shown on the attached Exhibits A and B. The amended rule shall be effective immediately.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 25th DAY OF SEPTEMBER, 2023.


/S/CHIEF JUSTICE



CONCUR: Kane, C.J., Rowe, V.C.J., Kauger, Edmondson, Gurich and Kuehn, JJ.



DISSENT: Combs and Darby, JJ.


NOT VOTING: Winchester, J.


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EXHIBIT A

Rule 1.301, Form No. 5

IN THE SUPREME COURT OF THE STATE OF OKLAHOMA


	
		
			
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			Plaintiff/Appell_____,
			
			
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			Defendant/Appell_____.
			
			
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PETITION IN ERROR

_____ PETITION IN ERROR

_____ AMENDED OR SUPPLEMENTAL PETITION

_____ CROSS PETITION

_____ COUNTER-PETITION

DATE FIRST PETITION IN ERROR FILED: ____________________

I.TRIAL COURT HISTORY

COURT/TRIBUNAL: _____________________________________________________

COUNTY: _____________________________________________________________

CASE NO.: _____________________________________________________________

JUDGE: ________________________________________________________________

NATURE OF CASE: ______________________________________________________
(e.g., Divorce, Personal Injury)

NAME OF PARTY OR PARTIES FILING THIS PETITION IN ERROR:
______________________________________________________________________

THE APPEAL IS BROUGHT FROM: (Check one)

_____ Judgment, Decree or Final order of District Court.

_____ Appeal from order granting summary judgment or motion to dismiss where motion filed after October 1, 1993 (Accelerated procedure under Rule 1.36).

_____ Appeal from Revocation of Driver''s License (Rule 1.21(b)).

_____ Final Order of Other Tribunal.

(Specify Corporation Commission, Insurance Department,

Tax Commission, Court of Tax Review, Banking Board or

Banking Commissioner, etc. _________________________)

_____ Interlocutory Order Appealable by Right.

_____ Other _______________________________________________________

II. TIMELINESS OF APPEAL

1. Date judgment, decree or order appealed was filed:_______________________.

2. If decision was taken under advisement, date judgment, decree or order was mailed to parties: ____________________

2. Did the party appealing prepare the judgment, decree or order appealed? ____ Yes _____ No.

3. Date the certificate of service was filed in the trial court: _______________________.

4.3.Does the judgment or order on appeal dispose of all claims by and against all parties?
____ Yes _____ No.

If not, did district court direct entry of judgment in accordance with 12 O.S. § 994? _____Yes _____ No.

When was this done? _________________

5.4.If the judgment or order is not a final disposition, is it appealable because it is an Interlocutory Order Appealable by Right? _____ Yes _____ No. Specific statutory basis for interlocutory order appealable by right:_______________________.

6.5.If none of the above applies, what is the specific statutory basis for determining the judgment or order is appealable? ____________________________________

7.6.Were any post-trial motions filed?
Type Date Filed Date Disposed
____________________ _____________________ ____________________
____________________ _____________________ ____________________
____________________ _____________________ ____________________

8.7.This Petition is filed by: ___ Delivery to Clerk, or
___Mailing to Clerk by U.S. Certified Mail, Return
Receipt Requested, on ____________ (date)

III. RELATED OR PRIOR APPEALS

List all prior appeals involving same parties or same trial court proceeding: ________

___________________________________________________________________

List all related appeals involving same issues: __________________________________

____________________________________________________________________

(Identify by Style, Appeal Number, Status, and Citation, if any. If none, so state.)

_

IV. SETTLEMENT CONFERENCE

Is appellant willing to participate in an attempted settlement of the appeal by predecisional conference under Rule 1.250? _____Yes _____No

V. RECORD ON APPEAL

_____ A Transcript will be ordered.

_____ No Transcript will be ordered because no record was made and/or no transcript will be necessary for this appeal

_____ A Narrative Statement will be filed

_____ Record is concurrently filed as required by Rule 1.34 (Driver''s License Appeals, etc.) or Rule 1.36 (Summary judgments and motions to dismiss granted).

VI. JUDGMENT, DECREE OR ORDER APPEALED -- EXHIBIT "A"

(Attach as Exhibit "A" to the Petition in Error a certified copy of the judgment, decree or order from which the appeal is taken. If a post-trial motion extending appeal time under Rule 1.22 was filed, a certified copy of the order disposing of the motion must be attached also.)

VII. SUMMARY OF CASE -- EXHIBIT "B"

Attach as Exhibit "B" a brief summary of the case not to exceed one 8 1/2"x 11" double spaced page.

VIII. ISSUES TO BE RAISED ON APPEAL -- EXHIBIT "C"

Attach as Exhibit "C" the issues proposed to be raised. Include each point of law alleged as error. Avoid general statements such as "Judgment not supported by law."

_

IX. NAME OF COUNSEL OR PARTY, IF PRO SE

ATTORNEY FOR APPELLANT

Name:

OBA No.:

Firm:

Designated Case-Specific Email Address: [if applicable]

Secondary Email Address: [if applicable]

Address:

Telephone:

ATTORNEY FOR APPELLEE

Name:

OBA No.:

Firm:

Designated Case-Specific Email Address: [if applicable]

Secondary Email Address: [if applicable]

Address:

Telephone:

DATE: ______________________ 20___


	
		
			
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			Verified by (Signature of Attorney or Pro Se Party)
			
		
		
			
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			Secondary Email Address [if applicable]
			
		
		
			
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X. CERTIFICATE OF MAILING TO ALL PARTIES AND
COURT CLERK

I hereby certify that a true and correct copy of the Petition in Error was mailed this ___ day of ________________, 20___ by depositing it in the U.S. Mail, postage prepaid or by electronic mail to ____________________________

_______________________________________________________________________.

(Name and Address and/or Email Address of Each Party or Counsel)

I further certify that a copy of the Petition in Error was mailed to, or filed in, the Office of ________________________________________________________ on the

(District Court Clerk or Other Tribunal)

___ day of ______________________, 20___.


	
		
			
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			Certified by (Signature of Attorney or Pro Se Party)
			
		
	


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EXHIBIT B

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Rule 1.301, Form No. 5

IN THE SUPREME COURT OF THE STATE OF OKLAHOMA


	
		
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PETITION IN ERROR

_____ PETITION IN ERROR

_____ AMENDED OR SUPPLEMENTAL PETITION

_____ CROSS PETITION

_____ COUNTER-PETITION

DATE FIRST PETITION IN ERROR FILED: ____________________

I.TRIAL COURT HISTORY

COURT/TRIBUNAL: _____________________________________________________

COUNTY: _____________________________________________________________

CASE NO.: _____________________________________________________________

JUDGE: ________________________________________________________________

NATURE OF CASE: ______________________________________________________
(e.g., Divorce, Personal Injury)

NAME OF PARTY OR PARTIES FILING THIS PETITION IN ERROR:
______________________________________________________________________

THE APPEAL IS BROUGHT FROM: (Check one)

_____ Judgment, Decree or Final order of District Court.

_____ Appeal from order granting summary judgment or motion to dismiss (Accelerated procedure under Rule 1.36).

_____ Appeal from Revocation of Driver's License (Rule 1.21(b)).

_____ Final Order of Other Tribunal.

(Specify Corporation Commission, Insurance Department,

Tax Commission, Court of Tax Review, Banking Board or

Banking Commissioner, etc. _________________________)

_____ Interlocutory Order Appealable by Right.

_____ Other _______________________________________________________

II. TIMELINESS OF APPEAL

1. Date judgment, decree or order appealed was filed:_______________________.

2. Did the party appealing prepare the judgment, decree or order appealed? ____ Yes _____ No.

3. Date the certificate of service was filed in the trial court: _______________________.

4. Does the judgment or order on appeal dispose of all claims by and against all parties?
____ Yes _____ No.

If not, did district court direct entry of judgment in accordance with 12 O.S. § 994? _____Yes _____ No.

When was this done? _________________

5. If the judgment or order is not a final disposition, is it appealable because it is an Interlocutory Order Appealable by Right? _____ Yes _____ No. Specific statutory basis for interlocutory order appealable by right:_______________________.

6. If none of the above applies, what is the specific statutory basis for determining the judgment or order is appealable? ____________________________________

7. Were any post-trial motions filed?
Type Date Filed Date Disposed
____________________ _____________________ ____________________
____________________ _____________________ ____________________
____________________ _____________________ ____________________

8. This Petition is filed by: ___ Delivery to Clerk, or
___Mailing to Clerk by U.S. Certified Mail, Return
Receipt Requested, on ____________ (date)

III. RELATED OR PRIOR APPEALS

List all prior appeals involving same parties or same trial court proceeding: ________

___________________________________________________________________

List all related appeals involving same issues: __________________________________

____________________________________________________________________

(Identify by Style, Appeal Number, Status, and Citation, if any. If none, so state.)

_

IV. SETTLEMENT CONFERENCE

Is appellant willing to participate in an attempted settlement of the appeal by predecisional conference under Rule 1.250? _____Yes _____No

V. RECORD ON APPEAL

_____ A Transcript will be ordered.

_____ No Transcript will be ordered because no record was made and/or no transcript will be necessary for this appeal

_____ A Narrative Statement will be filed

_____ Record is concurrently filed as required by Rule 1.34 (Driver's License Appeals, etc.) or Rule 1.36 (Summary judgments and motions to dismiss granted).

VI. JUDGMENT, DECREE OR ORDER APPEALED -- EXHIBIT "A"

(Attach as Exhibit "A" to the Petition in Error a certified copy of the judgment, decree or order from which the appeal is taken. If a post-trial motion extending appeal time under Rule 1.22 was filed, a certified copy of the order disposing of the motion must be attached also.)

VII. SUMMARY OF CASE -- EXHIBIT "B"

Attach as Exhibit "B" a brief summary of the case not to exceed one 8 ½"x 11" double spaced page.

VIII. ISSUES TO BE RAISED ON APPEAL -- EXHIBIT "C"

Attach as Exhibit "C" the issues proposed to be raised. Include each point of law alleged as error. Avoid general statements such as "Judgment not supported by law."

_

IX. NAME OF COUNSEL OR PARTY, IF PRO SE

ATTORNEY FOR APPELLANT

Name:

OBA No.:

Firm:

Designated Case-Specific Email Address: [if applicable]

Secondary Email Address: [if applicable]

Address:

Telephone:

ATTORNEY FOR APPELLEE

Name:

OBA No.:

Firm:

Designated Case-Specific Email Address: [if applicable]

Secondary Email Address: [if applicable]

Address:

Telephone:

DATE: ______________________ 20___


	
		
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			____________________________________________
		
		
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			Verified by (Signature of Attorney or Pro Se Party)
			
		
		
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			Designated Case-Specific Email Address [if applicable]
			
		
		
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			Secondary Email Address [if applicable]
			
		
		
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			Address
			
		
		
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			Telephone
			
		
	


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X. CERTIFICATE OF MAILING TO ALL PARTIES AND
COURT CLERK

I hereby certify that a true and correct copy of the Petition in Error was mailed this ___ day of ________________, 20___ by depositing it in the U.S. Mail, postage prepaid or by electronic mail to ____________________________

_______________________________________________________________________.

(Name and Address and/or Email Address of Each Party or Counsel)

I further certify that a copy of the Petition in Error was mailed to, or filed in, the Office of ________________________________________________________ on the

(District Court Clerk or Other Tribunal)

___ day of ______________________, 20___.


	
		
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			Certified by (Signature of Attorney or Pro Se Party)
			
		
	


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